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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  June 22, 2023
                             SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


SIKE AKHIONBARE,                                §
                                                §
           Plaintiff,                           §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:22-CV-03647
                                                §
GREGORY FUNDING, LLC,                           §
                                                §
           Defendant.                           §

                 ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

       Came on to be heard Defendant’s Motion to Dismiss Plaintiff’s Complaint (Dkt. No. 3).

After considering the Motion and the response, if any, the Court finds that the Motion should be

granted.

       It is ORDERED that Defendant’s Motion to Dismiss Plaintiff’s Complaint is GRANTED

and therefore Plaintiff’s claims against Defendant are hereby dismissed with prejudice.

       It is so ORDERED.

       SIGNED on June 22, 2023, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




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